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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND



AMERICAN CHEMICAL SOCIETY ET AL.,

                                Plaintiffs,

         v.                                          Civil Action No. 8:18-cv-03019-GJH

RESEARCHGATE GMBH,

                                Defendant.



    DEFENDANT RESEARCHGATE GMBH’S ANSWER TO PLAINTIFFS’ COMPLAINT
          FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES

         Defendant ResearchGate GMBH (“ResearchGate” or “Defendant”), through its

undersigned counsel, hereby answers Plaintiffs’ complaint for declaratory relief and damages as

follows:
                                                                 1
                                     NATURE OF THE CASE

         1.      ResearchGate admits that Plaintiffs publish articles in their journals. As to the

remainder of the second sentence of this paragraph, that sentence states a legal conclusion to

which no response is required. To the extent a response is deemed required, ResearchGate denies

the allegations. ResearchGate denies any remaining allegations of this paragraph.

         2.      ResearchGate admits that it was founded in 2008 and that it is a for-profit business.

ResearchGate admits that it owns and operates an online, professional social network for

scientists and researchers, and that its website is located at http://ResearchGate.net. As to the first

four sentences of this paragraph, ResearchGate lacks knowledge or information sufficient to


1
  ResearchGate neither admits nor denies the contents of the various headings and subheadings in
the Complaint, which are reproduced herein solely for convenience.
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admit or deny the allegations of these sentences, and on that basis denies them. ResearchGate

denies any remaining allegations of this paragraph.

         3.      This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         4.      ResearchGate admits that, through an automated process, it accesses copies, which

are never publicly displayed, of certain publicly available publications (as well as certain textual

content) that are then uploaded to servers it owns or controls for the purposes of indexing that

content. ResearchGate admits that, through an automated process, it accesses and makes publicly

available copies of some publications where the publication is subject to a Creative Commons

license. ResearchGate admits that it stores copies of certain content obtained from publicly

available websites on its servers at the direction of a user when the content’s author chooses to

make the content publicly available on ResearchGate. ResearchGate admits that its publication

pages sometimes feature a “request full-text” button that causes a message to be sent from the

requestor to the authors of a publication, and that the authors can ignore the request, decline it, or

respond to it. ResearchGate admits that authors who choose to make the full text of their work

available can choose to share their work privately or publicly.          ResearchGate admits that

ResearchGate’s website has contained information about self-archiving. ResearchGate denies any

remaining allegations of this paragraph.

         5.      ResearchGate admits that many articles published in Plaintiffs’ journals undergo a

peer review process. ResearchGate lacks knowledge or information sufficient to admit or deny

the remaining allegations of this paragraph, and on that basis denies them.

         6.      As to the first sentence of this paragraph, ResearchGate lacks knowledge or

information sufficient to admit or deny the allegations of this sentence, and on that basis denies

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them. ResearchGate denies any remaining allegations of this paragraph.

                                  JURSIDICTION AND VENUE

         7.       ResearchGate admits that Plaintiffs purport to bring claims under the Copyright

Act, 17 U.S.C. §§ 101 et seq. For purposes of this action, ResearchGate does not contest subject

matter jurisdiction. ResearchGate denies any remaining allegations of this paragraph.

         8.       For purposes of this action, ResearchGate does not contest personal jurisdiction.

ResearchGate admits that some of its users are located in Maryland, that some of the institutions

and companies with institution pages appearing on ResearchGate are based in Maryland, and that

some of the content that authors have chosen to make publicly available via ResearchGate was

written in Maryland. ResearchGate admits that it has sent emails to authors located in Maryland.

ResearchGate admits that some of the companies that have advertised or posted jobs on

ResearchGate are based in Maryland. ResearchGate denies any remaining allegations of this

paragraph.

         9.       For purposes of this Action, ResearchGate does not contest venue. As to the

remainder of the allegations of this paragraph, this paragraph states a legal conclusion to which no

response is required. To the extent a response is deemed required, ResearchGate denies the

allegations.

         10.      ResearchGate admits that Maryland is home to some of the country’s leading

universities, medical centers, and scientific, engineering and research institutions. ResearchGate

is without knowledge or information sufficient to admit or deny the remaining allegations of this

paragraph, and on that basis denies them.

                                           THE PARTIES

         11.      ResearchGate is without knowledge or information sufficient to admit or deny the

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allegations of this paragraph, and on that basis denies them.

         12.      ResearchGate is without knowledge or information sufficient to admit or deny the

allegations of this paragraph, and on that basis denies them.

         13.      ResearchGate is without knowledge or information sufficient to admit or deny the

allegations of this paragraph, and on that basis denies them.

         14.      ResearchGate is without knowledge or information sufficient to admit or deny the

allegations of this paragraph, and on that basis denies them.

         15.      ResearchGate admits that it is a company organized under the laws of Germany,

with its principal place of business in Berlin.

                               PLAINTIFFS ACS AND ELSEVIER

         16.      ResearchGate is without knowledge or information sufficient to admit or deny the

allegations of this paragraph, and on that basis denies them.

         17.      ResearchGate is without knowledge or information sufficient to admit or deny the

allegations of this paragraph, and on that basis denies them.

         18.      ResearchGate is without knowledge or information sufficient to admit or deny the

allegations of this paragraph, and on that basis denies them.

         19.      ResearchGate is without knowledge or information sufficient to admit or deny the

allegations of this paragraph, and on that basis denies them.

         20.      ResearchGate admits that an author’s draft or final version of his or her research

results or analysis prior to peer review or publication is often referred to as a “pre-print.”

ResearchGate admits that the version of an article printed in a journal is often referred to as a

“version of record” or “VOR.” ResearchGate is without knowledge or information sufficient to

admit or deny the remaining allegations of this paragraph, and on that basis denies them.

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         21.      The allegations of this paragraph state legal conclusions to which no response is

required. To the extent a response is deemed required, ResearchGate denies the allegations.

                    DEFENDANT RESEARCHGATE AND ITS ACTIVITIES

         22.      Denied.

                                          The RG Website

         23.      ResearchGate admits that it owns and operates an online, professional social

network for scientists and researchers. ResearchGate admits that its members use its website to

share, discover, and discuss research, including by creating and editing profiles, asking and

answering questions, and reading research, publications and other content that authors have

chosen to make publicly available via ResearchGate. ResearchGate admits that more individuals

visit ResearchGate’s website from the United States than from any other country. ResearchGate

denies any remaining allegations of this paragraph.

         24.      ResearchGate admits that Hamid R. Jamali published an article tiled Compliance

and Infringement in ResearchGate Full-text Journal Articles in the first issue of the 112th volume

of Scientometrics. ResearchGate denies any remaining allegations of this paragraph.

         25.      ResearchGate admits that an account is required to ask or answer questions or

upload documents. ResearchGate admits that to obtain an account, a person must register using

an email address at a recognized institution, or be manually confirmed by ResearchGate as

affiliated with a scientific or research institution or as a scientist or researcher. ResearchGate

admits that a membership is not required to view some content that an author has chosen to make

publicly available via ResearchGate. ResearchGate denies any remaining allegations of this

paragraph.

         26.      ResearchGate admits that, through an automated process, it accesses copies, which

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are never publicly displayed, of certain publicly available publications (as well as certain textual

content) that are then uploaded to servers it owns or controls for the purposes of indexing that

content. ResearchGate admits that, through an automated process, it accesses and makes publicly

available copies of some publications where the publication is subject to a Creative Commons

license. ResearchGate admits that copies of content that authors have chosen to make publicly

available via ResearchGate are stored at the direction of the user on computer servers that

ResearchGate owns or controls. ResearchGate admits that it offers a search function that allows

users to locate some content that authors have chosen to make publicly available via

ResearchGate. ResearchGate admits that search engines like Google sometimes include in their

search results links to content that authors have chosen to make publicly available via

ResearchGate. ResearchGate denies any remaining allegations of this paragraph.

         27.      ResearchGate admits that a membership is not required to view certain research,

publications, or other content that an author has chosen to make publicly available via

ResearchGate, and that users can download the full text of such content by using the “Download

full-text” button appearing on ResearchGate’s website. ResearchGate admits that users can click

a “share” button on ResearchGate’s website to post links on Facebook, Twitter, LinkedIn,

Google+ and Reddit to content that authors have chosen to make publicly available via

ResearchGate. ResearchGate denies any remaining allegations of this paragraph.

                                      Intentional Infringement

         28.      ResearchGate admits that, through an automated process, it accesses copies, which

are never publicly displayed, of certain publicly available publications (as well as certain textual

content) that are then uploaded to servers it owns or controls for the purposes of indexing that

content. ResearchGate admits that, through an automated process, it accesses and makes publicly

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available copies of some publications where the publication is subject to a Creative Commons

license. ResearchGate admits that it stores versions of publications that are publicly available

online on ResearchGate’s system or network at the direction of authors who choose to make those

publications publicly available via ResearchGate. ResearchGate denies any remaining allegations

of this paragraph.

         29.      ResearchGate admits that it sometimes informs authors that the full text of their

work may be publicly available online and offers authors the option to do nothing, privately store

it or make their work publicly available via ResearchGate, if they so choose. ResearchGate

admits that its website features a “request full-text” button that causes a message to be sent from

the requestor to the author of a publication, and that author can ignore the request, decline it, or

respond to it. ResearchGate admits that authors who choose to make the full text of their work

available can choose to share their work privately or publicly. ResearchGate admits that authors

who choose to make their work publicly available in response to a user’s request for the full text

may do so by uploading their own copy or through a one-click upload or import feature.

ResearchGate admits that when an author chooses to make a publication publicly available on

ResearchGate via the import feature, ResearchGate, through an automated process and at the

author’s direction, accesses a pdf likely to be a publicly available version of the article, which is

then uploaded to ResearchGate.          ResearchGate denies any remaining allegations of this

paragraph.

         30.      ResearchGate admits that its website states “In general, proprietary full-text

content only appears on ResearchGate when it has been uploaded by an author. So, if there’s

already a full-text of your publication available on ResearchGate, the most likely explanation is

that it has been uploaded by one your co-authors.” ResearchGate admits that a prior job posting

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contained the language alleged in this paragraph. ResearchGate denies any remaining allegations

of this paragraph.

         31.      ResearchGate admits that Hamid R. Jamali published an article titled Compliance

and Infringement in ResearchGate Full-text Journal Articles in the first issue of the 112th volume

of Scientometrics. ResearchGate denies any remaining allegations of this paragraph.

                                    Facilitation Of Infringement

         32.      Denied.

         33.      ResearchGate admits that the images contained in this paragraph previously

appeared on its website. ResearchGate denies any remaining allegations of this paragraph.

         34.      ResearchGate admits that it allows members to create and edit personal profiles.

ResearchGate admits that its website features publication pages. ResearchGate admits that its

website features pages with information about certain journals, including journals published by

ACS, Elsevier and others. ResearchGate denies any remaining allegations of this paragraph.

         35.      ResearchGate admits that it allows members to create and edit personal profiles.

ResearchGate admits that members have the option to add information about their education,

employment, interests and projects to their profiles. ResearchGate admits that an author can add

his or her published or unpublished work to his or her profile if the author so chooses.

ResearchGate admits that if an author chooses to create a publication page for his or her work, or

to confirm authorship of a publication or other content that already exists on ResearchGate, a link

to that work could appear on his or her personal profile if the author has chosen to add that

content to his or her profile. ResearchGate denies any remaining allegations of this paragraph.

         36.      ResearchGate admits that a publication page is a page created either by a user or

by ResearchGate using publicly available information. ResearchGate admits that, when created,

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publication pages contain information about particular content, such as a publication’s title and

author names, but generally no full text. ResearchGate admits that it may make a full text

available in some cases where a publication has a Creative Commons license. ResearchGate

admits that authors can choose to add the full text of their publications to publication pages.

ResearchGate admits that publication pages can contain abstracts from certain publicly available

sources. ResearchGate denies any remaining allegations of this paragraph.

         37.      ResearchGate    admits       that       the    SHERPA/RoMEO             database

(http://www.sherpa.ac.uk/romeo) is an online resource that aggregates and summarizes certain

publisher policies. ResearchGate admits that its publication index used to be automatically

matched with the SHERPA RoMEO data set of certain journals’ and publishers’ agreements to

help authors decide whether they could legally upload their publications to ResearchGate.

ResearchGate admits that it has sent emails to authors asking if they wanted to upload their work

to ResearchGate, and that authors who choose to upload their work may do so privately.

ResearchGate admits that its website features a “request full-text” button that causes a message to

be sent from the requestor to the author of a publication, and that author can ignore the request,

decline it, or respond to it. ResearchGate admits that authors who choose to make the full text of

their work available can choose to share their work privately or publicly. ResearchGate admits

that authors who choose to make their work publicly available in response to a user’s request for

the full text may do so by uploading their own copy or through a one-click upload or import

feature.   ResearchGate admits that when an author chooses to make a publication publicly

available on ResearchGate via the import feature, ResearchGate’s automated system, and at the

author’s direction, accesses a publicly available pdf, which is then available via ResearchGate.

ResearchGate admits that copies of publications that authors have chosen to make publicly

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available via ResearchGate appear on the publication pages found on ResearchGate’s website,

and that users can download a pdf of such publications. ResearchGate denies any remaining

allegations of this paragraph.

         38.   ResearchGate admits that its website features pages with information about certain

journals, including journals published by ACS and Elsevier. ResearchGate admits that these

pages contain information about a specific journal, including a description of the journal and a

link to its website. ResearchGate admits that journal pages may contain links to ResearchGate

publication pages (which may or may not contain full texts or abstracts), and that, at some points

in time in the past, abstracts and publication pages generally appeared in reverse chronological

order as a default. ResearchGate admits that some publication pages feature a “request full-text”

button that causes a message to be sent from the requestor to the authors of a publication.

ResearchGate admits that authors who receive full-text requests may choose to ignore the request,

decline, or, if they conclude that they have the legal right to do so, send the full text of a

publication to the requestor privately, or make the full text of the publication available publicly on

ResearchGate’s website. ResearchGate denies any remaining allegations of this paragraph.

         39.   Denied.

         40.   ResearchGate admits that many publishers’ agreements with authors allow them to

share their work, and that permissible forms of sharing vary depending on the terms of the

particular agreement at issue. ResearchGate admits that it has informed users that it offers a self-

archiving repository. ResearchGate admits that it directed authors to Sherpa/RoMEO to help

authors determine whether they may legally make their content publicly available via

ResearchGate’s website. ResearchGate denies any remaining allegations of this paragraph.

         41.   ResearchGate admits that many publishers’ agreements with authors allow them to

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share their work, and that permissible forms of sharing vary depending on the terms of the

particular agreement at issue. ResearchGate admits that some forms of sharing are commonly

referred to as “self-archiving,” although the meaning of the term “self-archive” varies.

ResearchGate admits that the copyright section of its website informs users that “Many publishers

do not allow the VOR to be shared publicly at any time. This is true even though you’re the

author of the work.” ResearchGate admits that Michael Laakso published an article titled Green

Open Access Policies of Scholarly Journal Publishers: A Study of What, When, and Where Self-

Archiving Is Allowed, in the second issue of the 99th volume of the journal Scientometrics.

ResearchGate denies any remaining allegations of this paragraph.

         42.    ResearchGate admits that it posted an announcement to its blog in September

2009, titled “Self-Archiving Repository goes online,” that read as follows:

                 This project makes full-text articles available to the public, for free – the
         first application of its kind worldwide.

                 We have now launched our Self-Archiving Repository! Currently, there is
         no way for researchers to access millions of publications in their full version
         online. We are now changing this by enabling users to upload their published
         research directly to their profile pages (a system called the “green route” to Open
         Access). Our publication index, containing meta data for 35 million publications,
         will     be    automatically      matched      with    the    SHERPA        RoMEO
         (http://www.sherpa.ac.uk/romeo) data set of journal and publisher’s self-archiving
         agreements. As a result, authors will know which versions of their articles they can
         legally upload.

                Since nine out of ten journals allow self-archiving, this project could give
         thousands of researchers immediate access to articles that are not yet freely
         available. Our Self-Archiving Repository does not infringe on copyrights because
         each profile page within ResearchGate is legally considered the personal website
         of the user (and the majority of journal publishers allow articles to be openly
         accessible on personal homepages). Therefore, each user can upload his or her
         published articles in compliance with self-archiving regulations.

                Our publication index makes every publication identifiable and is
         searchable. Since each profile is networked to the larger platform, the uploaded
         resources will form an enormous pool of research for our members. Of course, it’s
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         free of charge.

ResearchGate denies any remaining allegations of this paragraph.

                             Financial Interest in the Infringement

         43.    Denied.

         44.    ResearchGate admits that the bolded text previously appeared when a user who

was not a member of ResearchGate clicked the request full text button. ResearchGate denies any

remaining allegations of this paragraph.

         45.    Denied.

         46.    ResearchGate admits that it sells advertising, and that paid advertisements

sometimes appear, for example, on profile pages, journal pages and publication pages, among

other pages. ResearchGate admits that employers may post jobs on ResearchGate, and that a

single job posted on ResearchGate for 30 days costs $499. ResearchGate denies any remaining

allegations of this paragraph.

         47.    ResearchGate admits that it has received more than $100 million in funding.

ResearchGate denies any remaining allegations of this paragraph.

                                      Attempts To Resolve

         48.    ResearchGate admits that STM is a trade association for academic and professional

publishers, and that STM has promulgated a set of Voluntary Principles for Article Sharing on

Scholarly Collaboration Networks that would, among other things, limit the sharing of articles to

sharing within “research collaboration groups.”         ResearchGate admits that STM asked

ResearchGate to endorse the Voluntary Principles for Article Sharing on Scholarly Collaboration

Networks, and that ResearchGate declined to do so. ResearchGate is without knowledge or

information sufficient to admit or deny the allegations of the last two sentences of this paragraph,

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and on that basis denies them. ResearchGate denies any remaining allegations of this paragraph.

         49.   ResearchGate admits that ACS, Elsevier and others formed the Coalition for

Responsible Sharing.     ResearchGate admits that ACS and Elsevier brought suit against

ResearchGate in Germany in October 2017. ResearchGate admits that it has received takedown

notices from ACS, Elsevier and others, and that it acts expeditiously to remove or disable access

to content identified in valid takedown notices.       ResearchGate is without knowledge or

information sufficient to admit or deny the allegations of the second sentence of this paragraph,

and on that basis denies them. ResearchGate denies any remaining allegations of this paragraph.

         50.   ResearchGate admits that its Terms of Service provide that ResearchGate may

delete or modify user member submissions, issue warnings to members, and suspend or terminate

members’ access to ResearchGate’s website, and that ResearchGate has acted expeditiously to

remove or disable access to content claimed to be infringing in valid takedown notices.

ResearchGate admits that it has terminated members’ accounts in appropriate circumstances

pursuant to its repeat infringer policy. ResearchGate denies any remaining allegations of this

paragraph.

         51.   ResearchGate admits that, without engaging in any analysis of whether particular

content was likely to infringe copyright, it has previously made private certain content that

authors had previously chosen to share publicly, and that the authors in some circumstances chose

to make that content public again. ResearchGate admits that it has acted expeditiously to remove

or disable access to certain publications in response to valid takedown notices, including

takedown notices from ACS and Elsevier. ResearchGate denies any remaining allegations of this

paragraph.



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                                            HARM

         52.   ResearchGate admits that search engine query results can include the publication

page on ResearchGate’s website if the content’s author has chosen to make it publicly available

via ResearchGate. ResearchGate denies any remaining allegations of this paragraph.

         53.   ResearchGate admits that authors may choose to make all kinds of work publicly

available via ResearchGate, including publications, conference papers, preprints, or negative

results. ResearchGate admits that, until August 2016, certain references or hyperlinks within

content uploaded to ResearchGate were hyperlinked to the corresponding publication page

available on ResearchGate. ResearchGate denies any remaining allegations of this paragraph.

                                FIRST CLAIM FOR RELIEF
                               (Direct Copyright Infringement)

         54.   ResearchGate incorporates by reference its responses set forth above to paragraphs

1-53.

         55.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         56.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         57.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         58.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         59.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         60.   This paragraph states a legal conclusion to which no response is required. To the
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extent a response is deemed required, ResearchGate denies the allegations.

                              SECOND CLAIM FOR RELIEF
                          (Inducement Of Copyright Infringement)

         61.   ResearchGate incorporates by reference its responses to paragraphs 1-53 set forth

above.

         62.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         63.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         64.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         65.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         66.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         67.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         68.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         69.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

                               THIRD CLAIM FOR RELIEF
                           (Contributory Copyright Infringement)

         70.   ResearchGate incorporates by reference its responses to paragraphs 1-53 set forth

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above.

         71.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         72.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         73.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         74.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         75.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         76.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         77.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

                               FOURTH CLAIM FOR RELIEF
                              (vicarious copyright infringement)

         78.   ResearchGate incorporates by reference its responses to paragraphs 1-53 set forth

above.

         79.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         80.   This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         81.   This paragraph states a legal conclusion to which no response is required. To the
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extent a response is deemed required, ResearchGate denies the allegations.

         82.      This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         83.      This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         84.      This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

         85.      This paragraph states a legal conclusion to which no response is required. To the

extent a response is deemed required, ResearchGate denies the allegations.

                                      PRAYER FOR RELIEF

           With respect to the prayer for relief contained in Plaintiffs’ Complaint, ResearchGate

states that no response is required. To the extent a response is deemed required, ResearchGate

denies that Plaintiffs are entitled to any of the relief requested and denies any factual allegations

therein.

                                   AFFIRMATIVE DEFENSES

                                     First Affirmative Defense

                                (Failure to State a Cause of Action)

         The Complaint fails to state a claim on which relief can be granted.

                                    Second Affirmative Defense

                                           (Safe Harbor)

         Plaintiffs’ claims are barred in whole or in part by one or more of the DMCA’s safe harbor

provisions as embodied in 17 U.S.C. § 512. ResearchGate has no actual knowledge that material

or activity on its system or network is infringing, and is not aware of facts or circumstances from

which infringing activity is apparent. ResearchGate faithfully complies with the DMCA by
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expeditiously removing or disabling access to content identified by a DMCA-compliant notice

and only re-enabling that content after receiving a valid DMCA-compliant counter-notification.

ResearchGate also reasonably implements a policy against repeat infringers.

                                      Third Affirmative Defense

                                 (First Amendment and/or Fair Use)

         To the extent there was any use of Plaintiffs’ copyrighted materials, such use is protected

by the First Amendment of the United States Constitution and/or the Fair Use Doctrine.

                                     Fourth Affirmative Defense

                                               (License)

         Plaintiffs’ claims fail in whole or in part because the complained-of use was validly

licensed by express or implied license.

                                      Fifth Affirmative Defense

                             (Waiver, Abandonment, and/or Forfeiture)

         Plaintiffs’ claims are barred in whole or in part by the doctrines of waiver, abandonment,

and/or forfeiture.

                                      Sixth Affirmative Defense

                                           (Unclean Hands)

         Plaintiffs’ claims are barred, in whole or in part, by the equitable doctrine of unclean

hands.

                                    Seventh Affirmative Defense

                                                (Laches)

         Plaintiffs’ claims are barred, in whole or in part, by the doctrine of laches.




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                                     Eighth Affirmative Defense

                                               (Estoppel)

         Plaintiffs’ claims are barred, in whole or in part, by the doctrine of estoppel.

                                      Ninth Affirmative Defense

                            (Acquiescence, Ratification, and/or Consent)

         Plaintiffs’ claims are barred in whole or in part by the doctrines of acquiescence,

ratification, and/or consent.

                                      Tenth Affirmative Defense

                                            (No Willfulness)

         Plaintiffs’ claims fail in whole or in part because ResearchGate’s conduct was innocent,

not willful.

                                    Eleventh Affirmative Defense

                                        (Statutes of Limitations)

         Plaintiffs’ remedies are barred at least in part by the applicable statutes of limitations.

                                     Twelfth Affirmative Defense

                                          (Failure to Mitigate)

         Plaintiffs are barred from recovery of damages because of and to the extent of their failure

to mitigate their alleged damages (to which, in any event, they are not entitled).

                                   Thirteenth Affirmative Defense

                                            (No Causation)

         Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ damages, if any, were

caused by independent, intervening, and/or superseding events beyond the control of

ResearchGate and unrelated to ResearchGate’s conduct. Any loss, injury, or damage claimed by

Plaintiffs was proximately caused by Plaintiffs’ own acts or omissions, forces, and events
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unrelated to ResearchGate’s conduct, and/or the acts or omissions of persons or entities other than

ResearchGate, which ResearchGate does not control.

                                   Fourteenth Affirmative Defense

                                     (Injunctive Relief Unavailable)

         Plaintiffs are not entitled to injunctive relief because any alleged injury to Plaintiffs is not

immediate or irreparable and because Plaintiffs have an adequate remedy—if any—at law.

                                     Fifteenth Affirmative Defense

                                                 (Misuse)

         Plaintiffs’ claims are barred in whole or in part by the doctrine of copyright misuse.

                                     Sixteenth Affirmative Defense

                                             (No Ownership)

         Plaintiffs’ claims are barred in whole or in part because Plaintiffs do not own the exclusive

rights for some or all of the works.

                                   Seventeenth Affirmative Defense

                                           (Extraterritoriality)

         Plaintiffs’ claims are barred in whole or in part because ResearchGate did not undertake

any activity in the United States covered by the Copyright Act.



                                        PRAYER FOR RELIEF

         WHEREFORE, ResearchGate respectfully prays that the Court:

         1.      Deny Plaintiffs’ prayer for relief in it its entirety;

         2.      Dismiss the Complaint with prejudice and enter judgment in favor of

ResearchGate;

         3.      Award ResearchGate its attorneys’ fees and costs incurred in this action, and any
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other amounts recoverable under law; and

         4.      Award ResearchGate such other and further relief as the Court deems just and

equitable.

         5.      ResearchGate hereby demands a trial by jury in this action.




Dated: February 13, 2019


                                           By:

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                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on this 13th day of February, 2019, a copy of the foregoing

Answer to Complaint was electronically filed and served on all counsel and parties of record via

the Court’s CM/ECF system.




                                                   Toyja E. Kelley




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